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 7
     Attorneys for Defendant,
 8
     BAO HOANG LU
 9

10                 IN THE UNITED STATES DISTRICT COURT FOR THE
11                         EASTERN DISTRICT OF CALIFORNIA
12

13   UNITED STATES OF AMERICA,        )           Case No. Cr-99-0433 (WBS)
14
                                      )
          Plaintiff and Respondent,   )           DEFENDANT LU’S 2nd REQUEST
15                                    )           FOR EXTENSION OF TIME
16               v.                   )           TO REPLY TO GOVERNMENT’S
                                      )           OPPOSITION TO LU’S SECTION
17
     BAO HOANG LU,                    )           2255 MOTION AND [PROPOSED]
18                                    )           ORDER THEREON
19
          Defendant and Movant.       )
     ________________________________ )
20

21
           On July 12, 2012 Defendant Bao Lu, by and through counsel of record filed
22

23   his 28 U.S.C. § 2255 Motion to Vacate, Set Aside, or Correct Judgment and
24
     Sentence. On January 23, 2013 Plaintiff United States of America filed its
25

26
     Opposition to this Motion. Mr. Lu’s Reply is currently due on or before
27   Wednesday, April 10, 2013. By the foregoing, Defendant Lu respectfully requests a
28
     14-day extension of time to file his Reply to Wednesday, April 24, 2013.

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 1
           This is Defendant’s second request for an extension of time to file the Reply
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     in this matter. Assistant United States Attorney William Wong was contacted
 3

 4   regarding this request, and Mr. Wong authorized me to state that he has no
 5
     objection.
 6

 7         The reason for this request is that, though counsel have been working
 8
     diligently on the Reply, we require this time to fully research and respond to the
 9

10
     arguments made by the Government in its Opposition. As the Court is aware, this

11   28 U.S.C. § 2255 case consists of an extensive record in the District Court and the
12
     Court of Appeals.
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14         In addition to requiring the requested extension due to the complexity of the
15
     record and the issues involved in the case, we also seek this extension due to the
16

17   press of business, which was largely unforeseen in my office at the time our first
18
     request for an extension of time was filed one month ago. Specifically, on March
19
     20, 2013, we made a mitigation submission to the United States Attorney’s Office in
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21   support of my client, a death-penalty eligible defendant, in the case United States v.
22
     Ortiz, et. al., Case No. 12-0119 (SI). This submission took the better part of a week
23

24   to put together, and because of the specific evidentiary and logistical posture of the
25
     case, was expedited and unforeseen at the time of my last extension request. This is
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27
     in addition to the Petition for Rehearing and Rehearing en banc which I filed in the

28   Ninth Circuit Court of Appeals in the case Sands v. Lewis, Case No. 11-18026, on


                                                2
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 1
     March 13, 2013. Finally, as noted in my previous request for an extension of time,
 2
     Dolores Osterhoudt, Esq., an associate in my office who is assisting me with the
 3

 4   instant Reply, had a pre-planned vacation from March 21, 2013 to April 2, 2013 and
 5
     thus was not be available to assist during this period.
 6

 7         As stated above, Assistant United States Attorney William Wong does not
 8
     object to this requested extension of time.
 9

10
     Date: April 8, 2013                               Respectfully submitted,

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12
                                                        /s/ William L. Osterhoudt
13
                                                       WILLIAM L. OSTERHOUDT
14                                                     Counsel for Bao Lu
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 1

 2
                                           ORDER
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 4
             The court is more than willing to accommodate Mr. Osterhoudt in this request,

 5   notwithstanding that back on September 17, 2012, when the government was five
 6
     days late in filing its opposition to the pending motion, Mr. Osterhoudt asked to have
 7

 8   defendant’s convictions and sentence vacated because “nearly a decade has elapsed
 9
     since Defendant Lu’s trial, and it has been over 16 years since the events giving rise
10

11
     to the case occurred,” and “the government’s failure to comply with applicable
12   deadlines should not be allowed to cause further delay.”
13
             GOOD CAUSE APPEARING, Defendant Bao Lu’s motion for a 14-day
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15   extension of time within which to file the Reply to the Government’s Opposition to
16
     Defendant Lu’s 28 U.S.C. § 2255 Motion to Vacate, Set Aside or Correct Judgment
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18   and Sentence is granted. Mr. Lu’s Reply is now due on or before April 24, 2013.
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     IT IS SO ORDERED.
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21

22   Date:         April 08, 2013
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24                                        _________________________________________
                                          WILLIAM B. SHUBB
25                                        UNITED STATES DISTRICT JUDGE
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